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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

HAROLD ATENCIO,

        Plaintiff,

v.                                                                          1:23-cv-00331-JMR-GJF

SAM BREGMAN, in his official capacity
as the District Attorney of the
Second Judicial District,

        Defendant.


        DEFENDANT BREGMAN’S NOTICE OF NON-INTENT TO PROSECUTE

        COMES NOW, Defendant Sam Bregman, in his official capacity as the District Attorney

of the Second Judicial District (hereinafter “Defendant”), through his attorneys Robles, Rael &

Anaya, P.C. (Taylor S. Rahn), and hereby gives notice of the following:

        1.       The Attorney General of the State of New Mexico is charged providing his opinion

on matters of law. See NMSA 1978 § 8-5-2.

        2.       On July 10, 2023, the Attorney General submitted its position on the

constitutionality of statute at issue in this matter, NMSA 1978, Section 32A-4-33(D) (2022). See

(Doc. No. 22).

        3.       Specifically, the Attorney General stated: “[I]f the Court concludes that Section

32A-4-33(D) applies to non-identifying information and non-anonymized records or information

in CYFD records, the State’s position is that the statute is subject to strict scrutiny and, to the extent

the statute reaches non-identifying and non-anonymized information, cannot survive strict scrutiny

according to the holding in Peck.” See id., pp. 4-5.
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       4.      Additionally, the Attorney General provided notice that the State has no other

interest in these proceedings and did not seek permission to formally intervene. See id., p. 5.

       5.      Based upon the Attorney General’s opinion that the statue may be read in a way

that does not survive constitutional scrutiny, Defendant Bregman gives notice that he does not

intend to prosecute any individuals for violation of NMSA 1978, Section 32A-4-33(D) in his

capacity as the District Attorney of the Second Judicial District.

                                                      Respectfully submitted,

                                                      ROBLES, RAEL & ANAYA, P.C.



                                                      By:      /s/ Taylor S. Rahn
                                                              Taylor S. Rahn
                                                              Attorney for Defendant
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I hereby certify that on this 20th day of
September 2023, the foregoing was
electronically served through the CM/ECF
system to all counsel of record.



/s/ Taylor S. Rahn
Taylor S. Rahn




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